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Exhibit |
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LINDABURY, McCORMICK, ESTABROOK & COOPER

A Professional Corporation

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Attomeys for Defendant, Nissan Motor Acceptance Corporation

ANDREW RITZ AND MICHAEL RITZ,
Plaintiffs,

v.

NISSAN-INFINITI LT, TRANS UNION, LLC,

EQUIFAX INFORMATION SERVICES AND

EXPERIAN INFORMATION SOLUTIONS,

INC,,

Defendants.

TO: Guerino Cento
Cento Law
5666 Carollton Avenue
Indianapolis, IN 46220
cento@centolaw.com
Attomeys for the Plaintiffs

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

Civil Action No. 3:20-cv-13509

DEFENDANT, NISSAN MOTOR ACCEPTANCE CORPORATION’S AMENDED
ANSWERS TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES

Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendant, Nissan Motor
Acceptance Corporation (improperly pled as “Nissan-Infiniti LT” and hereinafter “NMAC” or the
“Defendant”) by and through its attorneys, Lindabury, McCormick, Estabrook & Cooper (Thomas
J. Sateary, Esq. and Sergio D. Simoes, Esq., appearing) hereby responds to Plaintiffs’ (hereinafter

“Plaintiffs”) First Set of Interrogatories as follows:

GENERAL OBJECTIONS

NMAC interposes the following General Objections to these Interrogatories and
incorporates them by reference into each and every response. In providing these responses,
NMAC does not in any way waive or intend to waive, but rather reserves and intends to reserve

the following:

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i. All objections as to competency, relevancy, materiality and admissibility;

ii. All rights to object on any ground to the use of any of the responses herein and
documents in any subsequent proceeding, including the trial of this or any other
action;

ili. Ail objections as to vagueness and ambiguity;

iv. All rights to object on any ground to any further discovery requests involving or

relating to the request;

v. | NMAC objects to each request to the extent it calls for the disclosure of information
or documents protected by the attomey-client privilege, work product doctrine,
material prepared in anticipation of litigation privilege, or any other privilege or
rule of confidentiality. NMAC further objects to each request insofar as it seeks
information related to mental impressions, legal conclusions, opinions, or theories
of any attorney or other representative of NMAC;

Vi. NMAC objects to each request to the extent it seeks information, documents, or
materials outside of NMAC’s care, custody or control;

vii. NMAC objects to each request to the extent it seeks information, documents, or
materials to which Plaintiffs have equa! or greater access than NMAC, including,
without limitation, matters of public record;

viii. | NMAC’s objections and responses are based on information available at present
and NMAC reserves its right to supplement, amend, or correct its responses to these
requests up to the time of trial;

ix. NMAC objects to each request to the extent it calls for conclusions of law;

X. NMAC objects to each request to the extent it is overly broad, unduly burdensome,
and/or calls for disclosure of information that is not reasonably calculated to lead
to the discovery of admissible evidence,

xi. NMAC incorporates the foregoing objections into each and every objection and/or
individualized response contained herein and set forth below and into each and
every amendment, supplement or modification to these responses hereinafter
provided to the request.

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SPECIFIC AMENDED RESPONSES TO PLAINTIFFS’ INTERROGATORIES

Interrogatory No. 1: Identify all investigations you conducted related to the account at issue
in this case, including any investigation initiated as the result of receiving a consumer dispute
from a consumer reporting agency. For each investigation identify:

1.1. The date on which you began the investigation;

1.2. The date you concluded the investigation;

1.3.All documents related in any way to the investigation;

1.4. All persons who participated in the investigation;

1.5.All internal email or other correspondence related to the investigation or sent
to among the persons who participated in the investigation;

1.6.All notes contained within any database system in which you store information
regarding the investigation and/or account at issue in this case.

Response: Objection. NMAC objects to this Interrogatory on the ground that it is overly
broad, seeks information that is neither relevant nor reasonably calculated to lead to the
discovery of admissible evidence, and exceeds the scope of permissible discovery under the
Federal Rules of Civil Procedure, the applicable Local Rules and the Orders of the Court.
Without waiving said objections, NMAC responds as follows:

On or about May 10, 2017, the Plaintiff, Andrew M. Ritz, leased a 2017 Nissan Sentra, VIN
3NI1AB7AP1HY273133M, from DCH Freehold Nissan, for a two-year term, with a maturity
date of May 9, 2019. On or about April 16, 2019, the Plaintiff requested a three (3) month
end of lease extension, which was approved by the Defendant, NMAC, extending the lease
maturity date to August 9, 2019. According to the dealer, DCH Freehold Nissan, the Vehicle
had been retumed to the dealership by the Plaintiff on August 9, 2019. Over a month after this
date, on September 20, 2019, the Vehicle was abandoned at the DCH Freehold Nissan and
not properly grounded. On or about September 27, 2019, NMAC received notice that the
Vehicle had arrived at DCH Freehold Nissan on September 20, 2019. Accordingly,
notwithstanding Plaintiff's abandonment of the Vehicle, Plaintiff's attempted grounding of
the Vehicle was late, and in accordance with the terms of Plaintiff's contractual agreement
with NMAC, Plaintiff was charged a $395.00 vehicle disposition fee upon surrendering the
vehicle, as well as $9.08 in late charges and a disposition fee tax of $26.17. The Plaintiff
maintained that he never made a late payment and requested a refund of the late charge and
disposition fee tax by letter dated September 30, 2019, to NMAC. Following communications
with the dealer and the Plaintiff, and despite the fact that the Vehicle had been surrendered
late, as an accommodation to Plaintiff, NMAC submitted an update to the co-defendant credit
bureaus to remove the late payment entry from Plaintiff's credit reports. In response to these
events, NMAC undertook a good faith investigation of Plaintiff's account, and responds
specifically to Plaintiff's interrogatory no. | as follows:

1.1. The date on which you began the investigation;

In light of the foregoing events, and in response to the Plaintiff's allegations and complaints,
NMAC commenced its investigation on September 28, 2019.

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1.2. The date you concluded the investigation;
NMAC concluded its investigation on or about January 17, 2020.
1.3. All documents related in any way to the investigation;

All documents related in any way to the investigation have been produced in NMAC’s
response to Plaintiffs First Request for Production. See specifically, Exhibit Q, activities log.

1.4. All persons who participated in the investigation,

As reflected in the activities log produced as Exhibit Q in response to Plaintiff's First Request
for Production, several NMAC employees communicated with the Plaintiff and other parties
in connection with the investigation including: Alejandro Arrioja, Mariel Galicia Fernandez,
Fedra Cazarin, Alexa Mendoza, Adriana Ramirez, Del Rocio Palacio, Tonanzin Rodriguez,
Gabriela Zamarrip, Lilliana a Alvarez, Francisco Valdes, Jose Mercado, Ricardo Rodriguez
and Alejandro Diaz.

1.5. All internal email or other correspondence related to the investigation or sent to
among the persons who participated in the investigation;

All documents related in any way to the investigation have been produced in NMAC’s
response to Plaintiff's First Request for Production. See specifically, Exhibit Q, activities log.

1.6. All notes contained within any database system in which you store information
regarding the investigation and/or account at issue in this case.

All documents related in any way to the investigation have been produced in NMAC’s
response to Plaintiff's First Request for Production. See specifically, Exhibit Q, activities log.

Interrogatory No. 2: Do you believe you have an accuracy defense in this case? If so,
identify all evidence, including documents and witnesses, upon which you will rely to make
such a defense.

Response: Objection. NMAC objects that this Interrogatory calls for information that is
irrelevant and that is protected from discovery by NMAC’s attorney client and work product
privileges. NMAC further objects to this interrogatory as it is overly broad, seeks information
that is neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence, and exceeds the scope of permissible discovery under the Federa! Rules of Civil
Procedure, the applicable Local Rules and the Orders of the Court. Without waiving said
objections, NMAC shall rely upon all affirmative defenses set forth in its pleadings and all
defenses at its disposal, including but not limited to an accuracy defense. In support of its
defenses, including its accuracy defense, NMAC shall rely upon all documents produced in
response to Plaintiff's First Request for Production, and in particular, Exhibit A thereto,
Plaintiff's CFPB Complaint, in which Plaintiff admits that he left the keys and vehicle at the
dealership lot without properly grounding the vehicle. NMAC also intends to rely upon all

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correspondence between NMAC and the Plaintiff, and further intends to rely upon Plaintiff's
testimony to establish damages, or the lack thereof. As discovery remains ongoing, NMAC
reserves the right to amend and supplement this answer.

Interrogatory No. 3: State ail defenses you claim with regard to lability. For each claimed
defense, identify each witness and document upon which the defense is based.

Response: Objection. NMAC objects that this Interrogatory cails for information that is
irrelevant and that is protected from discovery by NMAC’s attorney client and work product
privileges. NMAC further objects to this interrogatory as it is overly broad, seeks information
that is neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence, and exceeds the scope of permissible discovery under the Federal Rules of Civil
Procedure, the applicable Local Rules and the Orders of the Court. Without waiving said
objections, NMAC shall rely upon all affirmative defenses set forth in its pleadings and all
defenses at its disposal, including but not limited to, Plaintiff's failure to state a claim against
NMAC, any losses suffered by Plaintiff were caused by Plaintiff's own actions or inactions
in properly surrendering the vehicle, any errors by NMAC were not intentional and resulted
from a bona fide error, NMAC conducted a reasonable and fair investigation of Plaintiff's
complaints, and any reports made to third-parties by NMAC were accurate. In support of
these defenses, NMAC intends to rely upon all documents produced in response to Plaintiff's
First Request for Production, and further intends to rely upon Plaintiff's testimony to establish
damages, or the lack thereof. As discovery remains ongoing, NMAC reserves the right to
amend and supplement this answer.

Interrogatory No. 4: Identify the procedures you believe are at issue in this case with respect
to Plaintiff's Section 1681s-2(B) claim. For each procedure, state whether you believe that
procedure was reasonable and how you know that the procedure was reasonable.

Response: Objection. NMAC objects to this interrogatory as it is unclear, vague, ambiguous
or unintelligible, particularly as to the undefined term “procedures.” NMAC further objects
to this interrogatory as it calls for a legal conclusion as to whether such undefined “procedure
was reasonable.” Without waiving said objections, NMAC took all reasonable procedures
necessary under the Fair Credit Reporting Act to ensure that the credit information about the
Plaintiff was collected, maintained and dispensed in a manner fair and equitable to the Plaintiff
with regard to the confidentiality, accuracy, relevancy and proper utilization of such
information. As the Activities Log produced at Exhibit Q makes clear, NMAC repeatedly
communicated with the Plaintiff by telephone and by letter to address his dispute, as well as
with the co-defendant credit agencies. NMAC’s investigation and procedures to address the
Plaintiff's concerns were reasonable and made in good faith in light of the Plaintiff's tardy
surrender of the Vehicle. As Plaintiff is aware, the Vehicle was abandoned by the Plaintiff
and not properly surrendered and grounded until September 20, 2019, well after the extended
lease maturity date of August 9, 2019; accordingly, the Plaintiff's account was considered late
and late fees were reported.

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Interrogatory No.5: Did you ever report the account at issue in this case as paid late? Ifso,
explain why you made that reporting. If you later changed that reporting, explain when and
why you changed that reporting.

Response: Objection. NMAC objects to this Interrogatory on the ground that it is overly
broad, seeks information that is neither relevant nor reasonably calculated to lead to the
discovery of admissible evidence, and exceeds the scope of permissible discovery under the
Federal Rules of Civil Procedure, the applicable Local Rules and the Orders of the Court.
Without waiving said objections, NMAC reported the account at issue as late because the
Vehicle was grounded late due to the Plaintiff's abandonment of the Vehicle at the dealership.
Notwithstanding Plaintiff's improper and late surrender of the Vehicle to the dealership,
NMAC made an accommodation and the reporting was updated on or about January 17, 2020.
Plaintiff is directed to Answer to Interrogatory No. |.

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VERIFICATION
STATE OF )
) 38s.
COUNTY OF )
] Allison Edmond [corporate representative) Supervisor

{title] of Nissan Motor Acceptance Corporation. I am the agent of Nissan Motor
Acceptance Corporation for the purpose of answering Plaintiffs First Set of
Interrogatories. I have read the foregoing interrogatories and the answers to those
interrogatories, which are true according to the best of my knowledge, information and

belief. I declare under penalty of perjury that the foregoing is true and correct.

Sworn to before me this 18th day of
June , 2021
{notary stamp]

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CERTIFICATION OF SERVICE

I hereby certify that on this 18th day of June, 2021, I caused a true and correct copy
of Nissan Motor Acceptance Corporation’s Amended Answers to Plaintiff's First Set of
Interrogatories to be served via electronic mail and first class, regular mail on the following

counsel of record:

Guerino Cento, Esq.
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Sergio D. Simoes
(Attorney ID No. 016152006)

Dated: June 18, 2021

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